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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )     Chapter 11
                                                                  )
YELLOW CORPORATION, et al.,1                                      )     Case No. 23-11069 (CTG)
                                                                  )
                          Debtors.                                )     (Jointly Administered)
                                                                  )     Re Docket Nos. 575

           NOTICE OF CANCELLATION OF ROLLING STOCK BID DEADLINE AND
                         ROLLING STOCK AUCTION

         PLEASE TAKE NOTICE that on September 15, 2023, the Court entered the Order

(I)(A) Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets; (B) Scheduling

Auctions and Approving the Form and Manner of Notice Thereof; (C) Approving Assumption

and Assignment Procedures; (D) Scheduling Sale Hearings and Approving the Form and

Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of

Liens, Claims, Interests and Encumbrances and (B) Approving the Assumption and Assignment

of Executory Contracts and Unexpired Leases; and (III) Granting Related Relief [Docket No.

575] (the “Bidding Procedures Order”).2

         PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures Order,

the Bid Deadline for submissions of Bids on the Rolling Stock Assets was October 13, 2023, at

5:00 p.m., prevailing Eastern Time (the “Rolling Stock Bid Deadline”) and an Auction (if any,

the “Rolling Stock Auction”), was scheduled to commence on October 18, 2023, at 10:00 a.m.,

prevailing Eastern Time.

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    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
    place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.

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    Capitalized terms used in this notice but not defined herein shall have the meanings ascribed to them in the
    Bidding Procedures Order, the Bidding Procedures, or the Agency Agreement, as applicable.
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       PLEASE TAKE FURTHER NOTICE that, on October 13, 2023, the Debtors’ filed

that certain Notice of Rescheduled Bid Deadline, Auction, and Hearing to Approve the Rolling

Stock Winning Bidder [Docket No. 834], notifying interested parties that the Rolling Stock Bid

Deadline and the Rolling Stock Auction had been rescheduled to dates and times to be

determined.

       PLEASE TAKE FURTHER NOTICE that, pursuant to section 16 of the Bidding

Procedures, the Debtors, in consultation with the Consultation Parties and in their reasonable

business judgement, and in light of the Debtors’ entry into the Agency Agreement (defined

below), have elected to cancel the Rolling Stock Bid Deadline and to cancel the Rolling Stock

Bid Auction.

       PLEASE TAKE FURTHER NOTICE that, contemporaneously herewith, the Debtors

have filed the Motion of Debtors for Entry of an Order (I) Approving Agency Agreement with

Nations Capital, LLC, Ritchie Bros. Auctioneers (America) Inc., IronPlanet, Inc., Ritchie Bros.

Auctioneers (Canada) Ltd., and IronPlanet Canada Ltd. Effective as of October 16, 2023;

(II) Authorizing the Sale of Rolling Stock Assets Free and Clear of Liens, Claims, Interests and

Encumbrances; and (III) Granting Related Relief (the “Agency Agreement Motion”) requesting

a hearing on October 23, 2023 at 10:00 a.m. (prevailing Eastern Time) to consider entry of an

order approving the Agency Agreement Motion (the “Agency Agreement Order”), with

objections due to be filed by October 23, 2023 at 8:00 a.m. (prevailing Eastern Time). All

parties in interest, including any party with interest in participating in the sale process for the

Rolling Stock Assets (as defined in the Agency Agreement Motion), are advised to review the

Agency Agreement Motion and the Agency Agreement Order.




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       PLEASE TAKE FURTHER NOTICE that the cancelation of the Rolling Stock

Auction does not affect or alter the Bidding Procedures other than as explicitly set forth herein or

pursuant to the relief requested to be granted by the Court under the Agency Agreement Order,

including with respect to any provisions relating to the rights of parties to submit credit bids

consistent with the terms of the Bidding Procedures.

       PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these

chapter 11 cases, including the Bidding Procedures Order, the Agency Agreement Motion, the

Agency Agreement Order, the Agency Agreement (redacted to protect certain confidential

commercial information), and the motion to shorten notice with respect to relief requested by the

Agency Agreement Motion may be obtained free of charge by visiting the Debtors’ case website

at dm.epiq11.com/case/yellowcorporation.




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Dated: October 16, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
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